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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 7
     JAMES T. NORVELL,                                CASE NO. C17-5683 BHS
 8
                             Plaintiff,               ORDER
 9          v.

10   BNSF RAILWAY COMPANY,

11                           Defendant.

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13          This matter comes before the Court on its own motion, following Defendant

14   BNSF’s objection to the Court’s scheduling the trial in this matter over Zoom video. See

15   Dkts. 146, 150, 151, and 152.

16          BNSF argues that the COVID-19 pandemic is “winding down” and that

17   conducting the trial in-person would be consistent with Chief Judge Martinez’s current

18   General Orders, including No. 10-21. Dkt. 150 at 1. It recognizes that the matter is

19   addressed to the Court’s discretion, but argues that there must be “good cause shown” to

20   require a Zoom trial over a party’s objection. Id. at 3. (acknowledging that in Bao Xuyen

21   Le v. Reverend Dr. Martin Luther King, Jr. Cnty., 524 F. Supp. 3d 1113 (W.D. Wash.

22   2021), a court in this District ordered a Zoom trial over a party’s objection). BNSF argues

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 1   that the COVID-19 landscape in March 2021, when Le was decided, was far different and

 2   worse than it is now, in light of high vaccination rates. Id. It points out that criminal jury

 3   trials (and some civil jury trials) are being held in person in the Western District. Id.

 4   BNSF also points to sporadic reports of juror inattentiveness, lack of engagement and

 5   interaction, and argues that it and it will be prejudiced if the trial proceeds over Zoom. Id.

 6   at 4. It also argues without explanation that a Zoom trial will implicate its constitutional

 7   right to a jury trial. Id. at 4–5.

 8          Norvell argues that the Court has the ability to order a Zoom trial over a party’s

 9   objection, and accurately cites cases from this District doing so. Dkt. 151 at 2–3 (citing,

10   inter alia, Orn v. City of Tacoma, No. 3:13-cv-05974-MJP, Dkt. 205 (W.D. Wash. Nov.

11   19, 2020)). He argues that Federal Rules of Civil Procedure 43(a) and 77(b) authorize the

12   Court to “permit testimony in open court by contemporaneous transmission from a

13   different location,” for good cause in compelling circumstances. Id. at 3 (citing Le, 524 F.

14   Supp. 3d at 1115).

15          COVID-19 is a compelling circumstance. While the disease’s transmission rate in

16   this District is not as bad as it has been at times over the past two years, the CDC’s

17   published information about transmission rates in counties comprising the Western

18   District of Washington at Tacoma’s jury pool demonstrate that the risk remains high.1

19   This risk constitutes good cause for avoiding unnecessary physical contact among jurors

20   who are summoned to serve in Court.

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               See Center for Disease Control and Prevention, COVID Data Tracker,
22   https://covid.cdc.gov/covid-data-tracker/ (last visited Nov. 8, 2021).

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 1         BNSF’s objection to Zoom trial is therefore OVERRULED. The jury trial in this

 2   matter will proceed by Zoom as scheduled, beginning November 30, 2021.

 3         IT IS SO ORDERED.

 4         Dated this 9th day of November, 2021.

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                                            A
                                            BENJAMIN H. SETTLE
                                            United States District Judge

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